     Case
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                      UNITED STATES COURT OF APPEALS
                           FOR THE THIRD CIRCUIT


                                      No. 16-3077


                                 DARYOUSH TAHA,
               Individually and on Behalf of All Others Similarly Situated

                                           v.

      COUNTY OF BUCKS; BUCKS COUNTY CORRECTIONAL FACILITY;
      CITIZEN INFORMATION ASSOCIATES LLC, d/b/a Mugshotonline.com,
         d/b/a bustedmugshots.com; UNPUBLISH LLC, d/b/a Mugshots.com


      COUNTY OF BUCKS; BUCKS COUNTY CORRECTIONAL FACILITY,
                                           Appellants


                    On Appeal from the United States District Court
                        for the Eastern District of Pennsylvania
                             (D.C. Civ. No. 2-12-cv-06867)
                     Honorable Wendy Beetlestone, District Judge


                                Argued March 15, 2017

    BEFORE: GREENAWAY, JR., SHWARTZ, and GREENBERG, Circuit Judges



                                     JUDGMENT


      This cause came on to be considered on the record on appeal from the United

States District Court for the Eastern District of Pennsylvania and was argued on March

15, 2017. On consideration whereof, it is hereby
      Case
   Case:    2:12-cv-06867-WB
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       ORDERED and ADJUDGED by this Court that the District Court's order of May

4, 2016, granting plaintiff's motion for class certification, is affirmed.

       Costs taxed against appellants.


                                                     ATTEST:


                                                     s/ Marcia M. Waldron
                                                     Clerk
DATED: July 6, 2017


Costs taxed in favor of Appellee, Daryoush Taha, as follows:

                              Brief. ....................... $142.60
                              Appendix ................... $199.60
                              Addendum .................. $139.60

                              Total. ....................... $481.80




                               August 10, 2017



      Clerk, U.S. Court of Appeals for the Third Circuit




                                                 2
